                    3:13-cr-30019-RM-BGC # 37                          Page 1 of 1
                                                                                                                                     E-FILED
                                                                                                     Friday, 10 January, 2014 05:56:10 PM
PS 40 (Rev. 09/10) Notice Regarding United States Passport for Criminal Defendant
                                                                                                             Clerk, U.S. District Court, ILCD

                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                           Central      District of       Illinois



          NOTICE REGARDING UNITED STATES PASSPORT FOR CRIMINAL DEFENDANT

TO:               United States Department of State                            FROM:                             Eric W. Fox
                      Office of Passport Services                                                            U.S. Probation Office
                        Legal Affairs Division                                                              600 East Monroe Street
               2100 Pennsylvania Avenue, NW, 3rd Floor                                                       108 Federal Building
                                                                                                             Springfield, IL 62701
                       Washington, DC 20037

    Original Notice                                                                Notice of Disposition
Date: 05/31/2013                                                               Date: 01/02/2014
By: USPO Eric W. Fox                                                           By:        SUSPO Daniel L. Knappmeyer



Defendant:         Donald Lee Plunk                                            Case Number:           13-30019-001
Date of Birth:               /1949                                             Place of Birth:        Quincy, Illinois
SSN:           -5037


Notice of Court Order (Order Date:                    05/30/2013                      )

      The above-named defendant is not permitted to apply for the issuance of a passport and/or passport card during the
      pendency of this action.
      The above-named defendant surrendered passport number 470335964                    and/or passport card number
                               to the custody of the U.S. District Court on 05/30/2013                 .



NOTICE OF DISPOSITION

The above case has been disposed of.

      The above order of the court is no longer in effect.
      Defendant not convicted – Document returned to defendant.
      Defendant not convicted – Document enclosed for further investigation due to evidence that the document may
      have been issued in a false name.
      Defendant convicted – Document and copy of judgment enclosed.



Distribution:
Original to case file
Department of State
Defendant (or representative)
Clerk of Court
